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                                                            FILED
          IN THE UNITED STATES DISTRICT COURT 5[R1CTCO1JRT
                  SOUTHERN DISTRICT OF GEORGIA
                        AUGUSTA DIVISION
                                                       201b SEP lb A c1 3b
UNITED STATES OF AMERICA           *
                                                  Cl
     V.                            *          CR 106-028
                                   *
JEREMIAH LANE                      *




                             ORDER



     On August 30, 2016, this Court denied Defendant's motion

to reduce his sentence under 18 U.S.C. § 3582(c) (2) based upon

Amendment 794 to the United States Sentencing Guidelines,

which sets out new guidelines for the determination of whether

a defendant should be granted a mitigating role reduction

undertJ.S.S.G. §3B1.2.

     Presently,     Defendant has        filed a motion for

reconsideration. In the motion, Defendant insists that he had

little to nothing to do with a firearm even though he pled

guilty to and was convicted of discharging a firearm during a

crime of violence. As explained to Defendant previously,

Amendment 794 does not apply retroactively and therefore

cannot provide any relief to him. Moreover, to the extent

that Defendant is now challenging the legality of his

conviction and sentence, he must do so by filing a motion to

vacate, set aside or correct sentence under 28 U.S.C. § 2255.
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Defendant, however,    has already filed a § 2255 motion. In

order for him to bring another § 2255 motion, he would have to

move the Eleventh Circuit Court of Appeals for an order

authorizing this Court to consider a second or successive §

2255 motion. See 28 U.S.C. §§ 2255, 2244(b)(3). Because

Defendant has not acquired the necessary authorization to

bring a successive § 2255 motion, this Court may not consider

the merits of Defendant's motion.

     Upon     the     foregoing,       Defendant's     motion       for

reconsideration (doc. no. 79) is DENIED.

     ORDER ENTERED at Augusta, Georgia, this         f'         day of

September, 2016.




                                   UNITED STATES DISTRICT




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